                   Case 2:20-cv-14998-JXN-AME Document 2 Filed 10/26/20 Page 1 of 1 PageID: 202
JS 44 (Rev. I 0/20)                                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the fi ling and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the Un ited States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civi l docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                                      DEFENDANTS
       Aace Pharmaceuticals, Inc, Aaarkish Pharmaceuticals NJ                                                                          Infinity Multiventures Inc., Infinity Aarkish Ventures , LLC ,
       Inc. , Aarkish Pharmaceuticals LLC                                                                                              Sanjay Dayma , Sandeep Mehta and Vaibhav Manek
   (b) County of Residence of First Listed Plaintiff =E"-'s""s~e"'x"'----------                                                        County of Residence of First Listed Defendant Kent (Delaware)
                                         (EXCEPT IN U.S PLAIN7'/FF CASES)                                                                                       (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                       NOTE:        IN LAND CONDEMNATION CASES , USE THE LOCATION OF
                                                                                                                                                    THE TRACT OF LAND INVOLVED.

      ( C)     Attorneys (Fi rm Name, Address, and Telephone Number)                                                                    Attorneys (If Known)

               Michael J. Canning, Giordano, Halleran & Ciesla, P.C.
               125 Half Mile Road , Red Bank, NJ 07701 732-741-3900
II. BASIS OF JURISDICTION (Place an                                         "X" in One Box Only)                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box.for Plaintiff
                                                                                                                                   (For Diversity Cases Only)                                            and One Box for Defendant)
             U.S. Government                             Federal Question                                                                                   PT F              DEF                                           PTF           DEF
                Plaintiff                                  (U.S. Government Not a Party)                                   Ci ti zen of This State             I    O        □          Incorporated or Principal Place         4GJ       0   4
                                                                                                                                                                                          of Business In This State

0     2      U.S. Government                   0    4    Diversity                                                         Citizen of Another State                 0   2
                                                                                                                                                                             □    2     Incorporated and Principal Place
                                                                                                                                                                                                                                 □        i&,-5
                Defendant                                  (Indicate Citizenship of Parties in Item Ill)                                                                                  of Business In Another State

                                                                                                                           Citizen or Subject of a
                                                                                                                              Foreign Country
                                                                                                                                                                    0   3
                                                                                                                                                                             □    3     Foreign Nation                           0    6   0   6


IV. NATURE OF SUIT (Place an                                "X" in One Box Only)                                                                                        Click here for: Nature of Suit Code Descri Jtions.
                CONTRACT                                                       TORTS




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      11 0 Insurance                               PERSONAL INJURY                        PERSONAL I NJURY                     625 Drug Related Seizure                     422 Appeal 28 USC 158              375 False Clai ms Act
      120  Marine                                  310 Airplane                     O 365 Personal Injury -                        of Property 2 1 USC 88 1                 423 Withdrawal                     376 Qui Tam (3 I USC
      130  M ill er Act                            3 I 5 Airplane Product                 Product Liability                    690 Other                                        28    use
                                                                                                                                                                                        151                         3729(a))
      140  Negotiable Instrument                          Liability                 O 367 Health Care/                                                                                                         400 State Reapportionm ent
      150  Recovery of Overpayment                 320 Assault, Libel &                     Pharmaceutical                                                                                                     4 IO Antitrust
           & Enforcement of Judgment                      Slander                           Personal Injury                                                                                                    430 Banks and Banking
0     151 Medicare Act                             330 Federal Employers'                   Product Liability                                                                                                  450 Commerce
0     152 Recovery of Defaulted                           Liability                 O  368 Asbestos Personal                                                                                                   460 Deportation
           Student Loans                           340 Marine                               Injury Product                                                                      New Drug Application           470 Racketeer Influenced and
           (Excludes Veterans)                     345 Marine Product                       Liability                                                                       840 Trademark                          Co rrupt Organizations
0     153 Recovery of Overpayment                         Liabi lity                  PERSONAL PROPERTY                                                                     880 Defend Trade Secrets           480 Consumer Credit
           of Veteran' s Benefits                  350 Motor Vehicle                D  370 Other Fraud                                                                          Act of20 16                         ( 15   use168 1 or 1692)
0     160 Stockholders' Suits                      355 Motor Veh icle               O  37 1 Truth in Lending                                                            1------------r...,                 485 Telephon e Consumer
0     190 Other Contract                                 Product Liabili ty         O  380 Other Personal                      720 Labor/Management                          SOCIAL SECURITY                    Protection Act
0     I 95 Contract Product Liability              360 Other Personal                       Property Damage                         Relations                                86 1 HIA ( 1395ft)            490 Cable/Sat TV
0     196 Franchise                                      Injury                     O  385 Property Damage                     740 Railway Labor Act                         862 Black Lung (923)          850 Securities/Commodities/
                                                   362 Personal Inj ury -                   Product Liability                  75 1 Fam ily and Medical                      863 DIWC/DIWW (405(g))             Exchange
                                                         Medical Malpractice                                                        Leave Act                                864 SSID Title XV I           890 Other Statuto,y Acti ons
l-=.,,..,.R_E_A.,.L,,,..P_R,.O_P_E_R.,.T_Y
                                         _ _-+-.-=C-:IV-:-1-:-L_R~IG...,H.,.·'=T.,.S-:----+--P-:RI-:-S-,O_N_E'=R_P_E_T_I_T_IO_N_S-+==l 790 Other Labor Litigation            865 RS I (405(g))             89 1 Agricultural Acts
       210 Land Condemnation                    440 Other Civil Rights                               Habeas Corpus:                    79 1 Employee Retirement                                            893 Environmental Matters
        220 Foreclosure                         441 Voting                                           463 Alien Detainee                     Income Security Act         t--====--:":-::=-:-:=-:-:,==~-t-"i 895 Freedom of lnfonnation
        230 Rent Lease & Ejechnent              442 Employment                                       5 10 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff               Act
        240 Torts to Land                       443 Housing/                                              Sentence                                                               or Defendant)                 896 Arbitration
        245 Tort Product Liability                    Accommodations                                 530 General                                                            87 1 IRS- Third Party              899 Admini strati ve Procedure
 0 290 All Oth er Real Property                 445 Amer. w/Disabilities -                           535 Death Penalty                                                            26 USC 7609                      Act/Review or Appeal of
                                                      Employment                                     Other:                                                                                                        Agency Deci sion
                                                446 Amer. w/Disabilities -                           540 Mandamus & Other                                                                                      950 Constitutionali ty of
                                                      Other                                          550 Civil Rights                       Actions                                                                State Statutes
                                                448 Education                                        555 Prison Condition
                                                                                                     560 Civil Detainee -
                                                                                                          Conditions of
                                                                                                          Confinement
 V. 0 RIG IN             (Place an "X" in One Box Only)
01           Original           0 2 Removed from                        0     3     Remanded from                  D4       Reinstated or         D     5 Transferred from             0 6 Multidistrict             D8      Multidistrict
             Proceeding             State Court                                     Appellate Court                         Reopened                      Another District                     Liti gation -                 Litigation -
                                                                                                                                                          (specify)                            Transfer                      Direct Fil e
                                                     C ite the U.S. Civil Statute under w hich you are fil ing (Do not citej11ristfictimw!st11t11tes ,mless diversity):
                                                     28 u.s.c. 1332
 VI. CAUSE OF ACTION                                1   -------------------------------------
                                                    Brief description of cause:
                                                     Breaches of Representations and Warranties under Shareholders Agreements, Fraud , Rescission and other Declaratory Relief
    VII. REQUESTED IN                               0      CHECK IF THIS IS A CLASS ACTI ON                                     DEMAND$                                               CHECK YES only if demanded in complaint:
         COMPLAINT:                                        UNDER RULE 23 , F.R.Cv.P.                                            Excess of $4, 150,000                                 JURY DEMAND:               G] Yes          O No

    VIII. RELATED CASE(S)
                                                         (See inslrucJions):
          IF ANY
    DATE
    Oct 26, 2010
    FOR OFFICE USE ONLY

      RECEIPT#                            AMOUNT                                                                                                                                                MAG.JUDGE
